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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                            Chapter 11

    OFF LEASE ONLY LLC, et al., 1                     Case No. 23-11388 (CTG)

                              Debtors.                (Jointly Administered)
                                                      Re: D.I. 15

 CERTIFICATION OF COUNSEL REGARDING MOTION OF THE DEBTORS FOR
ENTRY OF INTERIM AND FINAL ORDERS (I) APPROVING DEBTORS’ PROPOSED
      FORM OF ADEQUATE ASSURANCE OF PAYMENT, (II) ESTABLISHING
    PROCEDURES FOR RESOLVING OBJECTIONS BY UTILITY COMPANIES,
  (III) PROHIBITING UTILITY COMPANIES FROM ALTERING, REFUSING, OR
       DISCONTINUING SERVICE, AND (IV) GRANTING RELATED RELIEF

                  The undersigned proposed counsel for the above-captioned debtors and debtors in

possession (the “Debtors”) hereby certifies that:

                  1.         On September 7, 2023, the Debtors filed the Motion of the Debtors for Entry

of Interim and Final Orders (I) Approving Debtors’ Proposed form of Adequate Assurance of

Payment, (II) Establishing Procedures for Resolving Objections By Utility Companies,

(III) Prohibiting Utility Companies From Altering, Refusing, Or Discontinuing Service, and

(IV) Granting Related Relief [Docket No. 15] (the “Motion”).

                  2.         On September 11, 2023, the Court held a hearing (the “Hearing”) to

consider approval of the Motion on an interim basis.

                  3.         At the conclusion of the Hearing, the Court approved the Motion but

directed the Debtors to hold submission of the proposed Order pending resolution of the objection



1    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
     identification number (if applicable) are: Off Lease Only LLC (7345), Off Lease Only Parent LLC
     (2753), and Colo Real Estate Holdings LLC (7453). The location of the Debtors’ service address in these
     chapter 11 cases is 1200 S. Congress Ave., Palm Springs, FL 33406.


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to the Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the Use of Cash

Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III) Scheduling A

Final Hearing, and (IV) Granting Related Relief [D.I. 7] (the “Cash Collateral Motion”).

                 4.          The Debtors and other interested parties have reached agreement on and

submitted a proposed form of interim order approving the Cash Collateral Motion. See D.I. 73.

                 5.          Attached hereto as Exhibit A is a proposed form of interim order approving

the Motion (the “Proposed Interim Order”) that incorporates comments referencing the Cash

Collateral Order and Budget.

                 6.          A blacklined copy of the Proposed Interim Order is attached hereto as

Exhibit B, showing changes from the order filed with the Motion.

                 7.          Accordingly, the Debtors respectfully request entry of the Proposed Interim

Order attached hereto as Exhibit A at the Court’s earliest convenience.



Dated: September 14, 2023                        PACHULSKI STANG ZIEHL & JONES LLP

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                                      Possession




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